






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00468-CR






David Cepeda Jones, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 7 OF BEXAR COUNTY,

NO. 923841, THE HONORABLE MONICA GUERRERO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant David Cepeda Jones, acting pro se, filed a document with this Court
entitled "Notice of Appeal/Investigation Demanded."  As we read his document, appellant raises
issues in connection with an appeal from matters related to criminal charges dismissed in a county
court at law of Bexar County, apparently in June 2006.  The pleading references a cause number in
County Court at Law No. 7, and complains about the purported refusal of the Fourth Court of
Appeals to address the denial of his constitutional right to a jury trial in the dismissed case.

		This Court's appellate jurisdiction generally is limited to cases appealed from trial
courts in our court of appeals district, which does not include Bexar County.  See Tex. Gov't Code
Ann. §§ 22.201(d), .220 (West Supp. 2012).  We see no basis for jurisdiction over an appeal of
matters arising out of a county court of Bexar County or over actions taken by the Fourth Court of
Appeals, and nothing in the documents appellant has filed demonstrates we otherwise have authority
to grant any relief he seeks.  See Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996)
(listing Government Code § 22.201 among examples of laws that establish jurisdiction of courts of
appeals).

		To any extent that appellant's pleadings could be read as initiating an original
appellate proceeding seeking extraordinary relief, see Tex. R. App. P. 52, we note that our
mandamus authority also is limited.  By statute, this Court has the authority to issue a writ of
mandamus against "a judge of a district or county court in the court of appeals district" and other
writs as necessary to enforce our appellate jurisdiction.  See Tex. Gov't Code Ann. § 22.221 (West
2004).  The Fourth Court of Appeals is not a party against whom we may issue a writ of mandamus. 
Nor has appellant demonstrated that the exercise of our writ power is necessary to enforce our
jurisdiction as we have no appellate jurisdiction over the Fourth Court of Appeals.

		Finding we lack jurisdiction, we dismiss his attempted appeal.


						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Jurisdiction

Filed:   August 2, 2012

Do Not Publish


